Case 2:10-md-02179-CJB-DPC Document 4820-44 Filed 12/06/11 Page 1 of 17




                                EXHIBIT 36



                                 In Support of


          Plaintiff United States’ Memorandum of Law in Support of the
         United States’ Second Motion for Partial Summary Judgment; and
            Statement of Undisputed Material Facts in Support Thereof
    Case 2:10-md-02179-CJB-DPC Document 4820-44 Filed 12/06/11 Page 2 of 17

                                                                                                                38728749



                             UNITED STATES DISTRICT COURT                                                   Jul 15 2011
                                                                                                              6:23PM

                            EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                             *     MDL NO. 2179
       ³'((3:$7(5+25,=21´
       In the GULF OF MEXICO on                             *     SECTION: J
       April 20, 2010
                                                            *     JUDGE BARBIER
Applies to: All Cases
                                                            *     MAG. JUDGE SHUSHAN



    RESPONSE ON BEHALF OF TRITON ASSET LEASING GMBH, TRANSOCEAN
      HOLDINGS LLC, TRANSOCEAN DEEPWATER INC., AND TRANSOCEAN
     2))6+25('((3:$7(5'5,//,1*,1&72%33$57,(6¶),5676(72)
                       REQUESTS FOR ADMISSION1

        Pursuant to Federal Rules of Civil Procedure 26 and 34, TRITON ASSET LEASING

GMBH, TRANSOCEAN HOLDINGS LLC, TRANSOCEAN DEEPWATER INC., AND

TRANSOCEAN OFFSHORE DEEPWATER DRILLING INC. FROOHFWLYHO\ ³5HVSRQGHQWV´ 

REMHFWWRWKH%33DUWLHV¶ ³%3´ )LUVW5HTXHVWVIRU$GPLVVLRQ ³%3¶V5HTXHVWVIRU$GPLVVLRQ´ 

as follows:




1
  $OWKRXJK%3¶V5HTXHVWVIRU$GPLVVLRQDOVRQDPH7UDQVRFHDQ/WGDQG7UDQVRFHDQ,QFWKHVH
SDUWLHV REMHFW JHQHUDOO\ WR %3¶V 5HTXHVWV IRU $GPLVVLRQ DQG WR HDFK LQGLYLGXDO 5HTXHVW IRU
Admission, on the grounds that this Court lacks personal jurisdiction over Transocean Ltd. and
Transocean Inc. Transocean Ltd. and Transocean Inc. so object with full reservation of rights,
and by appearing now do not waive personal jurisdiction. On May 6, 2011, this Court entered a
Special Appearance by Transocean Ltd. and Transocean Inc. and ordered a standstill of
jurisdictional discovery, allowing counsel to accept service of process without waiver of
jurisdiction (Docket Number 2274). Transocean Ltd. and Transocean Inc. have not consented to
personal MXULVGLFWLRQ DQG WKHUHIRUH SHQGLQJ UHVROXWLRQ RI WKH VWDQGVWLOO %3¶V 5HTXHVWV IRU
Admission as to Transocean Ltd. and Transocean Inc. are not proper.
  Case 2:10-md-02179-CJB-DPC Document 4820-44 Filed 12/06/11 Page 3 of 17




        8.      5HVSRQGHQWV UHVSRQG WR %3¶V 5HTXHVWV IRU $GPLVVLRQ VROHO\ IRU WKH SXUSRVH RI

and in relation to the above-FDSWLRQHGDFWLRQ5HVSRQGHQWV¶UHVSRQVHV are made subject to any

and all objections to competence, relevance, materiality, and admissibility that would require the

exclusion at the time of trial of any statement in response to these Requests for Admission.

Respondents reserve their right to interpose any such objections at the time of trial.

        9.      Respondents have not fully completed their investigation of the facts relating to

this case and have not fully completed their preparation for trial or obtained all documents

UHODWLYH WR WKLV FDVH RU %3¶V 5Hquests for Admission. Respondents also have not completed

discovery from other parties in this case. All of the responses contained herein are based only

upon the information and documents that are currently available to and specifically known to

Respondents. It is anticipated that further discovery, independent investigation, legal research

and analysis will supply additional facts, add meaning to the known facts, as well as establish

new factual conclusions and legal contentions, all of which may lead to additions to, changes in

DQGYDULDWLRQVIURPWKHFRQWHQWLRQVVHWIRUWKKHUHLQ7KHIROORZLQJUHVSRQVHVWR%3¶V5HTXHVW

IRU $GPLVVLRQV DUH JLYHQ ZLWKRXW SUHMXGLFH WR 5HVSRQGHQWV¶ ULJKW WR SURGXFH HYLGHQFH RI DQ\

subsequently discovered fact or facts which Respondents may later recall, discover, or locate.

Respondents reserve the right to supplement or amend the responses herein.

                                 REQUESTS FOR ADMISSION

REQUEST FOR ADMISSION NO. 1:

        Admit that the Deepwater Horizon was a vessel for purposes of maritime law.

RESPONSE TO REQUEST FOR ADMISSION NO. 1:

        In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by



                                                   4
  Case 2:10-md-02179-CJB-DPC Document 4820-44 Filed 12/06/11 Page 4 of 17




Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Subject to and without waiving the foregoing specific and General

Objections, Respondents admit that the Deepwater Horizon was a vessel.

REQUEST FOR ADMISSION NO. 2:

       Admit that the Deepwater Horizon was a dynamically positioned vessel.

RESPONSE TO REQUEST FOR ADMISSION NO. 2:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Subject to and without waiving the foregoing specific and General

Objections, Respondents admit that the Deepwater Horizon was a dynamically positioned vessel.

REQUEST FOR ADMISSION NO. 3:

       Admit that the Deepwater Horizon¶V EORZRXW SUHYHQWHU ZDV DQ DSSXUWHQDQFH RI WKH

Deepwater Horizon.

RESPONSE TO REQUEST FOR ADMISSION NO. 3:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Subject to and without waiving the foregoing specific and General

Objections, Respondents admit that the Deepwater Horizon¶V EORZRXW SUHYHQWHU ZDV DQ

appurtenance of the Deepwater Horizon.

REQUEST FOR ADMISSION NO. 4:

       AdmLWWKDW7UDQVRFHDQLVWKHZRUOG¶VODUJHVWFRQWUDFWRURIRIIVKRUHGULOOLQJULJV



                                                5
  Case 2:10-md-02179-CJB-DPC Document 4820-44 Filed 12/06/11 Page 5 of 17




RESPONSE TO REQUEST FOR ADMISSION NO. 4:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDWWKHWHUP³ODUJHVW´LVYDJXHDQGDPELJXRXV%\ZD\RIH[DPSOHLWLVQRWFOHDULI³ODUJHVW´

refers to the number of drilling rigs, number of personnel, number of contracts, gross revenue, or

some other measurement. Subject to and without waiving the foregoing specific and General

Objections, Respondents admit that Transocean is a leading international provider of offshore

contract drilling services for oil and gas wells.

REQUEST FOR ADMISSION NO. 5:

       Admit that Triton Asset Leasing GmbH was the owner of the Deepwater Horizon.

RESPONSE TO REQUEST FOR ADMISSION NO. 5:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Subject to and without waiving the foregoing specific and General

Objections, Respondents admit that Triton Asset Leasing GmbH was the owner of the

Deepwater Horizon.

REQUEST FOR ADMISSION NO. 6:

       Admit that no other entity besides Triton Asset Leasing GmbH was the owner of the

Deepwater Horizon.




                                                    6
  Case 2:10-md-02179-CJB-DPC Document 4820-44 Filed 12/06/11 Page 6 of 17




RESPONSE TO REQUEST FOR ADMISSION NO. 6:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Subject to and without waiving the foregoing specific and General

Objections, Respondents admit that no other entity besides Triton Asset Leasing GmbH was the

owner of the Deepwater Horizon.

REQUEST FOR ADMISSION NO. 7:

       Admit that one or more of the Transocean Deepwater Horizon Companies was the

operator of the Deepwater Horizon.

RESPONSE TO REQUEST FOR ADMISSION NO. 7:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³RSHUDWRU RI WKH Deepwater Horizon´ LV YDJXH DPELJXRXV DQG PLVOHDGLQJ  %3

was operator of the Macondo well; Transocean was the drilling contractor. Respondents further

object to this Request for Admission to the extent it implies Transocean had assumed or was

otherwise responsible for any of the duties or obligations of the Macondo well operator. BP, as

operator of the Macondo well, retained full authority over well design, drilling operations, casing

and cementing processes, temporary abandonment procedures and testing, and determination and

implementation of appropriate well-control procedures, among other responsibilities. Subject to

and without waiving the foregoing specific and General Objections, Respondents admit that BP



                                                   7
  Case 2:10-md-02179-CJB-DPC Document 4820-44 Filed 12/06/11 Page 7 of 17




contracted Transocean to provide the Deepwater Horizon drilling rig and the personnel to

operate it. As such, Transocean was involved in the day-to-day operations of the Deepwater

Horizon.

REQUEST FOR ADMISSION NO. 8:

       Admit that no BP entity was an operator of the Deepwater Horizon.

RESPONSE TO REQUEST FOR ADMISSION NO. 8:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³RSHUDWRU RI WKH Deepwater Horizon´ LV YDJXH DPELJXRXV DQG PLVOHDGLQJ  %3

was operator of the Macondo well; Transocean was the drilling contractor. Respondents further

object to this Request for Admission to the extent it implies Transocean had assumed or was

otherwise responsible for any of the duties or obligations of the Macondo well operator. BP, as

operator of the Macondo well, retained full authority over well design, drilling operations, casing

and cementing processes, temporary abandonment procedures and testing, and determination and

implementation of appropriate well-control procedures, among other responsibilities. Subject to

and without waiving the foregoing specific and General Objections, Respondents admit that BP

contracted Transocean to provide the Deepwater Horizon drilling rig and the personnel to

operate it. In this sense, BP was not the operator of the Deepwater Horizon. As operator of the

Macondo well, however, BP stationed its own personnel on the Deepwater Horizon, including

WZRZHOOVLWHOHDGHUVDQGDZHOOVLWHWUDLQHH7KHZHOOVLWHOHDGHUVH[HUFLVHG%3¶VDXWKRULW\RQWKH

rig, directed and supervised operations, and coordinated the activities of contractors.



                                                   8
  Case 2:10-md-02179-CJB-DPC Document 4820-44 Filed 12/06/11 Page 8 of 17




REQUEST FOR ADMISSION NO. 12:

       Admit that the Deepwater Horizon¶V 2IIVKRUH ,QVWDOODWLRQ 0DQDJHUV ³2,0V´  DUH

employed by Transocean Deepwater Inc.

RESPONSE TO REQUEST FOR ADMISSION NO. 12:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Subject to and without waiving the foregoing specific and General

Objections, Respondents admit that the Deepwater Horizon¶V2,0VDUHHPSOR\HGE\7UDQVRFHDQ

Deepwater Inc.

REQUEST FOR ADMISSION NO. 13:

       Admit that on April 20, 2010, Jimmy Harrell was the OIM aboard the Deepwater

Horizon.

RESPONSE TO REQUEST FOR ADMISSION NO. 13:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Subject to and without waiving the foregoing specific and General

Objections, Respondents admit that Jimmy Harrell was the OIM aboard the Deepwater Horizon

on April 20, 2010.

REQUEST FOR ADMISSION NO. 14:

       Admit that the Deepwater Horizon was required to have a properly licensed Master

aboard on April 20, 2010.



                                              11
  Case 2:10-md-02179-CJB-DPC Document 4820-44 Filed 12/06/11 Page 9 of 17




RESPONSE TO REQUEST FOR ADMISSION NO. 16:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Subject to and without waiving the foregoing specific and General

Objections, Respondents admit that Curt Kuchta was the Master aboard the Deepwater Horizon

on April 20, 2010.

REQUEST FOR ADMISSION NO. 17:

       Admit that the Deepwater Horizon¶V2,0ZDVUHVSRQVLEOHIRUWKHDeepwater Horizon¶V

operations while a well is being drilled.

RESPONSE TO REQUEST FOR ADMISSION NO. 17:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents further object to this Request for Admission to the extent

it implies Transocean had assumed or was otherwise responsible for any of the duties or

obligations of the Macondo well operator. BP, as operator of the Macondo well, retained full

authority over well design, drilling operations, casing and cementing processes, temporary

abandonment procedures and testing, and determination and implementation of appropriate well-

control procedures, among other responsibilities. Subject to and without waiving the foregoing

specific and General Objections, Respondents admit that the OIM was the senior Transocean

PDQDJHURQERDUGZKRFRRUGLQDWHGULJRSHUDWLRQVZKLOHDZHOOLVEHLQJGULOOHGZLWK%3¶VZHOOVLWH

leaders and generally managed the Transocean crew.         As operator of the Macondo well,



                                              13
 Case 2:10-md-02179-CJB-DPC Document 4820-44 Filed 12/06/11 Page 10 of 17




however, BP stationed its own personnel on the Deepwater Horizon, including two well site

OHDGHUVDQGDZHOOVLWHWUDLQHH7KHZHOOVLWHOHDGHUVH[HUFLVHG%3¶VDXWKRULW\Rn the rig, directed

and supervised operations, and coordinated the activities of contractors.

REQUEST FOR ADMISSION NO. 18:

       Admit that the Deepwater Horizon¶V 2,0 ZDV UHVSRQVLEOH IRU WKH SHUIRUPDQFH RI DOO

Transocean personnel while a well is being drilled.

RESPONSE TO REQUEST FOR ADMISSION NO. 18:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents further object to this Request for Admission to the extent

it implies Transocean had assumed or was otherwise responsible for any of the duties or

obligations of the Macondo well operator. BP, as operator of the Macondo well, retained full

authority over well design, drilling operations, casing and cementing processes, temporary

abandonment procedures and testing, and determination and implementation of appropriate well-

control procedures, among other responsibilities. Subject to and without waiving the foregoing

specific and General Objections, Respondents admit that the OIM was the senior Transocean

manager onboard who coordinated rig operations while DZHOOLVEHLQJGULOOHGZLWK%3¶VZHOOVLWH

leaders and generally managed the Transocean crew. As operator of the Macondo well, BP

stationed its own personnel on the Deepwater Horizon, including two well site leaders and a well

site trainee. The well siWHOHDGHUVH[HUFLVHG%3¶VDXWKRULW\ RQWKH ULJGLUHFWHGDQGVXSHUYLVHG

operations, and coordinated the activities of contractors.




                                                 14
 Case 2:10-md-02179-CJB-DPC Document 4820-44 Filed 12/06/11 Page 11 of 17




RESPONSE TO REQUEST FOR ADMISSION NO. 20:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Subject to and without waiving the foregoing specific and General

Objections, Respondents deny this Request.

REQUEST FOR ADMISSION NO. 21:

       $GPLW WKDW XQGHU 7UDQVRFHDQ¶V SROLFLHV WKH 3HUVRQ-In-&KDUJH ³3,&´  LV WKH LQGLYLGXDO

who is fully responsible for onboard activities or activities directly related to the vessel.

RESPONSE TO REQUEST FOR ADMISSION NO. 21:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents further object to this Request for Admission to the extent

it implies Transocean had assumed or was otherwise responsible for any of the duties or

obligations of the Macondo well operator. BP, as operator of the Macondo well, retained full

authority over well design, drilling operations, casing and cementing processes, temporary

abandonment procedures and testing, and determination and implementation of appropriate well-

control procedures, among other responsibilities. Subject to and without waiving the foregoing

specific and General Objections, Respondents admit that the PIC holds overriding authority in

situations involving safety and pollution prevention based upon written procedures, policies,

recognized industry safe working practice, and relevant codes and standards. As operator of the

Macondo well, however, BP stationed its own personnel on the Deepwater Horizon, including



                                                  16
 Case 2:10-md-02179-CJB-DPC Document 4820-44 Filed 12/06/11 Page 12 of 17




two well site leaders and a well site tUDLQHH7KHZHOOVLWHOHDGHUVH[HUFLVHG%3¶VDXWKRULW\RQWKH

rig, directed and supervised operations, and coordinated the activities of contractors.

REQUEST FOR ADMISSION NO. 22:

       Admit that only one person could be the PIC of the Deepwater Horizon at any one time.

RESPONSE TO REQUEST FOR ADMISSION NO. 22:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Subject to and without waiving the foregoing specific and General

Objections, Respondents admit that only one person could be the PIC of the Deepwater Horizon

at any one time.

REQUEST FOR ADMISSION NO. 23:

       Admit that the Master was the PIC of the Deepwater Horizon when the Deepwater

Horizon was in underway mode.

RESPONSE TO REQUEST FOR ADMISSION NO. 23:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Subject to and without waiving the foregoing specific and General

Objections, Respondents admit that the Master was the PIC of the Deepwater Horizon when the

Deepwater Horizon was in underway mode.




                                                 17
 Case 2:10-md-02179-CJB-DPC Document 4820-44 Filed 12/06/11 Page 13 of 17




RESPONSE TO REQUEST FOR ADMISSION NO. 42:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Subject to and without waiving the foregoing specific and General

Objections, Respondents deny this Request. Respondents further state that the Captain relieved

the OIM the moment the emergency situation occurred. The use of the general alarm and the

public address system to muster indicated that the Captain had relieved the OIM.

REQUEST FOR ADMISSION NO. 43:

       Admit that on April 20, 2010, there was no announcement over any public address

system on the Deepwater Horizon to indicate that the master had relieved the OIM as the person

in charge.

RESPONSE TO REQUEST FOR ADMISSION NO. 43:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Subject to and without waiving the foregoing specific and General

Objections, Respondents deny this Request. Respondents further state that the Captain relieved

the OIM the moment the emergency situation occurred. The use of the general alarm and the

public address system to muster indicated that the Captain had relieved the OIM.

REQUEST FOR ADMISSION NO. 44:

       Admit that one or more of the Transocean Deepwater Horizon Companies was solely

responsible for the operation of the Deepwater Horizon.



                                               27
 Case 2:10-md-02179-CJB-DPC Document 4820-44 Filed 12/06/11 Page 14 of 17




RESPONSE TO REQUEST FOR ADMISSION NO. 44:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDWWKHWHUP³RSHUDWLRQRIWKHDeepwater Horizon´LVYDJXHDPELJXRXVDQGPLVOHDGLQJ%3

was operator of the Macondo well; Transocean was the drilling contractor. In addition, the term

³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV  5HVSRQGHQWV FDQQRW

determine to which companies, in particular, this request purports to pertain. Respondents

further object to this Request for Admission to the extent it implies Transocean had assumed or

was otherwise responsible for any of the duties or obligations of the Macondo well operator. BP,

as operator of the Macondo well, retained full authority over well design, drilling operations,

casing and cementing processes, temporary abandonment procedures and testing, and

determination and implementation of appropriate well-control procedures, among other

responsibilities. Subject to and without waiving the foregoing specific and General Objections,

Respondents admit that BP contracted Transocean to provide the Deepwater Horizon drilling rig

and the personnel to operate it. As such, Transocean was involved in the day-to-day operations

of the Deepwater Horizon.

REQUEST FOR ADMISSION NO. 45:

       Admit that in performing drilling operations using the Deepwater Horizon pursuant to the

Drilling Contract, the Transocean Deepwater Horizon Companies were independent contractors.




                                              28
 Case 2:10-md-02179-CJB-DPC Document 4820-44 Filed 12/06/11 Page 15 of 17




example, Respondents had no say in, and no knowledge of, the risks BP knowingly took in the

WHPSRUDU\DEDQGRQPHQWSURFHGXUHV¶FHPHQWGHVLJQ)HGHUDOLQYHVWLJDWRUVKDYHFRQFOXGHGWKDW

³%3¶VGHFLVLRQWRXVHDORQJVWULQJSURGXFWLRQFDVLQJLQFUHDVHGWKHGLIILFXOW\RIDFKLHYLQJ]RQDO

LVRODWLRQGXULQJWKHFHPHQWLQJMRE´DQG³>Z@KLOHWKHGHFLVLon did not directly cause the blowout,

it increased the risk of cementing failure´$GGLWLRQDOO\WKHILQDOFHPHQWMRELQYROYHGDQRWKHU

VHULHV RI ZKDW IHGHUDO LQYHVWLJDWRUV FKDULWDEO\ FDOO ³FRPSURPLVHV´ WR WKH TXDOLW\ RI WKH FHPHQW

MRE UHVXOWLQJ IURP %3¶s last-minute decisions: BP decided, contrary to API and Halliburton

recommendations, to not conduct a full bottoms up circulation; BP chose to use a smaller number

of centralizers than recommended by Halliburton; and BP decided not to conduct a cement bond

log to determine the integrity of the cement job. BP made these and other risky last-minute

GHFLVLRQVZLWKRXW7UDQVRFHDQ¶VNQRZOHGJH:LWKRXWNQRZLQJZKDW%3HQJLQHHUVKDGGRQHDQG

without knowing of the severe risks BP had chosen to take, Transocean drill crew was working

LQ WKH GDUN  )HGHUDO LQYHVWLJDWRUV IRXQG QR HYLGHQFH ³WKDW %3 HYHU FRPPXQLFDWHG WKH DERYH

ULVNVWRLWVRWKHUFRQWUDFWRUVSULPDULO\WKH7UDQVRFHDQULJFUHZ´See &KLHI&RXQVHO¶V5HSRUWS

103.

Respectfully submitted,


        /s/ Steven L. Roberts       _____                 By:             /s/ Kerry J. Miller   ______
Steven L. Roberts (Texas, No. 17019300)                           Kerry J. Miller (Louisiana, No. 24562)
Rachel Giesber Clingman (Texas, No. 00784125)                     Frilot, L.L.C.
Kent C. Sullivan (Texas, No. 19487300)                            1100 Poydras Street, Suite 3700
Teri L. Donaldson (Florida, No. 784310)                           New Orleans, Louisiana 70163
Sutherland Asbill & Brennan LLP                                   Telephone: (504) 599-8169
1001 Fannin Street, Suite 3700                                    Facsimile: (504) 599-8154
Houston, Texas 77002                                              Email: kmiller@frilot.com
Telephone: (713) 470-6100                                         Facsimile: (713) 654-1301
Email: steven.roberts@sutherland.com,
rachel.clingman@sutherland.com,
kent.sullivan@sutherland.com,
teri.donaldson@sutherland.com


                                                    233
 Case 2:10-md-02179-CJB-DPC Document 4820-44 Filed 12/06/11 Page 16 of 17




                                                             -and-

                                                By:          /s/ Edwin G. Preis, Jr.       ______
                                                      Edwin G. Preis, Jr. (Louisiana, No. 10703)
                                                      Edward F. Kohnke, IV (LA, No. 07824)
                                                      Preis & Roy PLC
                                                      102 Versailles Boulevard, Suite 400
                                                      Lafayette, Louisiana 70501
                                                      Telephone: (337) 237-6062
                                                      Facsimile: (337) 237-9129
                                                             -and-
                                                      601 Poydras Street, Suite 1700
                                                      New Orleans, Louisiana 70130
                                                      Telephone: (504) 581-6062
                                                      Facsimile: (504) 522-9129
                                                      Email: egp@preisroy.com,
                                                      efk@preisroy.com
Of Counsel:
Daniel O. Goforth (Texas, No. 08064000)
Goforth Geren Easterling LLP
4900 Woodway, Suite 750
Houston, Texas 77056
Telephone: (713) 650-0022
Facsimile: (713) 650-1669
Email: dangoforth@goforthlaw.com

John M. Elsley (Texas, No. 0591950)
Royston, Rayzor, Vickery & Williams LLP
711 Louisiana Street, Suite 500
Houston, Texas 77002
Telephone: (713) 224-8380
Facsimile: (713) 225-9945
Email: john.elsley@roystonlaw.com

Brad D. Brian (California, No. 79001)
Allen M. Katz (California, No. 054933)
Munger Tolles & Olson LLP
355 South Grand Avenue, 35th Floor
Los Angeles, California 90071
Telephone: (213) 683-9100
Facsimile: (213) 683-5180, (213) 683-4018
Email: brad.brian@mto.com, allen.katz@mto.com
                                          Counsel for Triton Asset Leasing GmbH,
                                          Transocean Holdings LLC, Transocean
                                          Deepwater Inc., and Transocean Offshore
                                          Deepwater Drilling Inc.

                                          234
 Case 2:10-md-02179-CJB-DPC Document 4820-44 Filed 12/06/11 Page 17 of 17




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, on July 15, 2011.

                                                   s/Kerry J. Miller___________




                                             235
